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                                            7   and U.S. Vessel Documentation

                                            8
                                                                    UNITED STATES DISTRICT COURT
                                            9
                                                                  CENTRAL DISTRICT OF CALIFORNIA
                                           10
                                                U.S. MARINE SURVEYORS, INC., a             CASE NO.: 2:16-cv-05360-PA
LEE, HONG, DEGERMAN, KANG & WAIMEY




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                                                                                           (FFMx)
   660 South Figueroa Street, Suite 2300




                                                California corporation; U.S. VESSEL
                                           12
       Los Angeles, California 90017




                                                DOCUMENTATION, a California                JOINT STIPULATION AND
                                           13   corporation,                               [PROPOSED] ORDER TO
                                           14                                              MODIFY PRELIMINARY
                                                            Plaintiffs,                    INJUNCTION
                                           15
                                                vs.
                                           16

                                           17   EDWARD RIENER, an individual;
                                                EDWARD RIENER D.B.A.
                                           18
                                                ELEMENTAL WEB DESIGN, an
                                           19   unknown entity,
                                           20
                                                            Defendants.
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                                                      JOINT STIPULATION AND [PROPOSED] ORDER TO MODIFY PRELIMINARY
                                                                                INJUNCTION
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                                            1            Plaintiffs U.S. Marine Surveyors, Inc. and U.S. Vessel Documentation
                                            2   (“Plaintiffs”) and Defendants Edward Riener and Edward Riener d.b.a Elemental
                                            3   Web Design (“Defendants”), by and through their counsel of record, hereby enter
                                            4   into the following Stipulation to Modify the August 25, 2016 Preliminary
                                            5   Injunction (“Stipulation”):
                                            6                                     STIPULATION
                                            7            WHEREAS, on August 25, 2016, the Court issued a preliminary
                                            8   injunction prohibiting Defendants, along with their agents, servants, employees,
                                            9   attorneys, and all other persons acting in concert or participation with them, from,
                                           10   inter alia,
                                                         “[u]sing, reading, responding to, destroying, blocking or otherwise
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                                           11
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                                           12            disposing      of   emails   directed   to   info@vesseldocumentation.us,
       Los Angeles, California 90017




                                           13            nvdc@vesseldocumentation.us,                 john@vesseldocumentation.us,
                                           14            maria@vesseldocumentation.us, or any other vesseldocumentation.us
                                           15            email addresses.”
                                           16            WHEREAS, a dispute has arisen between the parties as to how Plaintiffs
                                           17   can immediately access, read, send and receive emails addressed to and from
                                           18   their vesseldocumentation.us email addresses, which are presently housed on
                                           19   server(s) in Defendants’ possession,
                                           20            WHEREAS, for the pendency of this litigation, the parties desire to
                                           21   resolve their dispute regarding access to vesseldocumentation.us emails by
                                           22   entering into a Stipulation setting forth an agreed-upon procedure by which
                                           23   Plaintiffs can immediately access, read, send and receive emails addressed to and
                                           24   from their vesseldocumentation.us email addresses,
                                           25            WHEREAS, Plaintiffs do not intend to request that the Court hold
                                           26   Defendants in contempt for future compliance in accordance with the procedure
                                           27   set forth herein, and
                                           28            WHEREAS, all parties hereby reserve all rights and remedies and
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                                                              JOINT STIPULATION AND [PROPOSED] ORDER TO MODIFY
                                                                           PRELIMINARY INJUNCTION
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                                            1   defenses accrued heretofore against each other.
                                            2            IT IS HEREBY STIPULATED, by and between the parties, through
                                            3   their respective counsel of record, as follows:
                                            4      1.    Plaintiffs and Defendants agree to a joint prefatory viewing of the
                                            5   content on each of the server(s) hosting all emails (and attachments or strings)
                                            6   addressed to or from any @vesseldocumentation.us email address at any time
                                            7   (hereafter, “Plaintiffs’ emails”).
                                            8      2.    Within 24 hours of the joint prefatory viewing, Defendants shall provide
                                            9   to Plaintiffs full access, at all times during the pendency of this action, to each of
                                           10   the server(s) hosting Plaintiffs’ emails. Plaintiffs may, at their option and at any
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                                           11   time, read, send and receive emails to or from their @vesseldocumentation.us
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                                           12   email addresses. No party, including Defendants, will transfer Plaintiffs’ emails
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                                           13   to any other server without Court order.       No party will make changes to the
                                           14   server(s) without joint written approval of the parties.
                                           15      3.    Defendants’ acts in compliance with Paragraphs 1 and 2 above will not
                                           16   be construed as acts in contempt of Court, provided that Defendants comply with
                                           17   all other remaining terms of this Stipulation and the August 25, 2016, Preliminary
                                           18   Injunction entered by the Court in this case as modified by this Stipulation and
                                           19   further Court order(s). Plaintiffs do not release Defendants from liability and/or
                                           20   contempt of Court for any action of any kind which he committed before this
                                           21   Stipulation, or which he may commit hereafter.
                                           22      4.    The parties agree not to delete Plaintiffs’ emails, or any emails on the
                                           23   server(s), including those of Boat Documentation US or delete or destroy any of
                                           24   the metadata associated with said emails.
                                           25      5.    Plaintiffs agree not to initiate any contact with Boat Documentation US
                                           26   customers in any way, or delete any emails from said customers, provided that
                                           27   such customers were not already prior customers of Plaintiffs.
                                           28      6.    The parties anticipate that some Boat Documentation US customers may
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                                                            JOINT STIPULATION AND [PROPOSED] ORDER TO MODIFY
                                                                         PRELIMINARY INJUNCTION
                                      Case 2:16-cv-05360-PA-FFM Document 56 Filed 09/06/16 Page 4 of 5 Page ID #:976


                                            1   initiate contact with Plaintiffs orally or in writing with complaints or status
                                            2   inquiries. Plaintiffs must be allowed to respond to customers as follows: “Boat
                                            3   Documentation US is presently inactive.           Please contact Sean Gorman and
                                            4   Edward       Riener   to    ascertain    status      at   the   following       email:
                                            5   Coastguardocumentation@gmail.com.”
                                            6      7.    On or before September 16, 2016, Defendants shall provide to Plaintiffs
                                            7   a list identifying customers of current Boat Documentation US. Edward Riener
                                            8   may review emails in the server(s) written to Boat Documentation US prior to the
                                            9   date the preliminary injunction was issued to identify Boat Documentation US
                                           10   customers. Plaintiffs shall have seven days from receipt of Defendants’ customer
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                                           11   list to identify which of said customers were former customers of Plaintiffs.
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                                           12      8.    As to any Boat Documentation US customers who contact Defendants,
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                                           13   Defendants may either process orders for those persons who have already paid for
                                           14   vessel documentation services and/or pay chargebacks back to said customers
                                           15   depending on the customer’s preference.        As to any Boat Documentation US
                                           16   customers whom Defendants have already received the Certificate of
                                           17   Documentation from the NVDC, Defendants will provide said certificates to the
                                           18   customers.
                                           19      9.    All correspondence with any Boat Documentation US customer shall be
                                           20   in writing via email and copied to Plaintiffs and their counsel at
                                           21   john@uscgdocumentation.com, dmakous@lhlaw.com, msoroky@lhlaw.com, and
                                           22   kfictelman@lhlaw.com. By entering into this Stipulation, Plaintiffs do not agree
                                           23   to release Defendants for any liability relating to their improper use of Plaintiffs’
                                           24   business, including but not limited to Plaintiffs’ customer information, financial
                                           25   information and Plaintiffs’ emails, in connection with Defendants’ operations of
                                           26   Boat Documentation US.
                                           27      10. All counsel shall receive backup copies of the server(s) accessible via
                                           28   the vesseldocumentation.us hosting provider server login.
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                                                             JOINT STIPULATION AND [PROPOSED] ORDER TO MODIFY
                                                                          PRELIMINARY INJUNCTION
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                                            1      11. The preliminary injunction should be modified to include the above
                                            2   terms.
                                            3      12. As to any evidence contained in the emails in the server used by
                                            4   Plaintiffs, review and use of the emails for purposes of prosecuting or defending
                                            5   this action, use of said emails will not be deemed a violation of the preliminary
                                            6   injunction and the parties will enter into a Stipulated Protective Order governing
                                            7   the use of said emails and any metadata or IT evidence.
                                            8   IT IS SO STIPULATED.
                                            9            Pursuant to Civil L.R. 5-4.3.4(a)(2)(i), the filer attests that all other
                                           10   signatories listed, and on whose behalf this filing is submitted, concur in the
                                                filing’s content and have authorized the filing.
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   660 South Figueroa Street, Suite 2300




                                           12   DATED: September 2, 2016 LEE, HONG, DEGERMAN, KANG & WAIMEY
       Los Angeles, California 90017




                                           13

                                           14                                           By:   /s/Matthew J. Soroky
                                           15                                                 Matthew J. Soroky
                                                                                 Attorneys for Plaintiffs, U.S. Marine Surveyors,
                                           16                                    Inc. and U.S. Vessel Documentation
                                           17   DATED: September 2, 2016 WELLMAN & WARREN, LLP
                                           18

                                           19
                                                                                        By:  /s/ Anabella Q. Bonfa
                                                                                             Anabella Q. Bonfa
                                           20                                    Attorneys for Defendants Edward Riener
                                                                                 and Edward Riener d.b.a Elemental Web Design
                                           21

                                           22   IT IS SO ORDERED.
                                           23

                                           24   DATED: September 6, 2016
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                                                                                  By:
                                           27                                           The Honorable Percy Anderson
                                                                                        United States District Court Judge
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                                                            JOINT STIPULATION AND [PROPOSED] ORDER TO MODIFY
                                                                         PRELIMINARY INJUNCTION
